     Case 2:21-cv-00116-DSF-JPR Document 20 Filed 02/12/21 Page 1 of 3 Page ID #:111



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 4    Telephone: (310) 277-7200
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 5    Attorneys for Defendant Equifax Inc.
 6
 7                                  UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
10    DONALD L. CRAWFORD SR.,                           Case No. 2:21-cv-00116-DSF-JPR
11
                       Plaintiff,
12
               v.                                       NOTICE OF SETTLEMENT AS TO
13                                                      DEFENDANT EQUIFAX INC.
      EXPERIAN INFORMATION
14    SOLUTIONS, INC., CHARTER
      COMMUNICATIONS, INC., AUTO
15    RETAIL GROUP, INC., NOHEMI
16    ANORVE ALMUSLEH, an individual,
      VEROS CREDIT, INC., EQUIFAX, INC.,
17    TRANSUNION, LLC; and DOES 1-20
      inclusive,
18
                       Defendants.
19
20
               COMES NOW, Defendant Equifax Inc. (“Equifax”) and hereby notifies the Court
21
22    that the Plaintiff Donald L. Crawford, Sr., and Equifax have reached a settlement in

23    principle as to Plaintiff’s allegations against Equifax, and are in the process of
24
      consummating the terms of the settlement agreement and filing a dismissal with prejudice
25
26    as to Defendant Equifax. Plaintiff’s claims as to the remaining Defendants remain before
27    the Court. Equifax requests that the Court vacate all pending deadlines in this matter as
28

                             DEFENDANT EQUIFAX INC.’S CONSENT TO REMOVAL
      68181439v.1
     Case 2:21-cv-00116-DSF-JPR Document 20 Filed 02/12/21 Page 2 of 3 Page ID #:112



 1    to Equifax. Equifax also requests that the Court retain jurisdiction for any matters related
 2
      to completing and/or enforcing the settlement
 3
      DATED: February 12, 2021                        Respectfully submitted,
 4
 5
 6                                                    /s/ Donald L. Crawford, Sr. (signed with
 7                                                    express permission)
                                                      Donald L. Crawford, Sr.
 8                                                    702 N. Teakwood Avenue
 9                                                    Rialto, California 92376
                                                      Pro Se Plaintiff
10
11                                                    /s/ Erica Hendricks
                                                      Erica Hendricks
12                                                    Seyfarth Shaw LLP
13                                                    2029 Century Park East, Suite 3500
                                                      Los Angeles, California 90067-3021
14                                                    Telephone: (310) 277-7200
15                                                    Facsimile: (310) 201-5219
                                                      ehendricks@seyfarth.com
16                                                    Counsel for Defendant Equifax, Inc.
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                            DEFENDANT EQUIFAX INC.’S CONSENT TO REMOVAL
      68181439v.1
     Case 2:21-cv-00116-DSF-JPR Document 20 Filed 02/12/21 Page 3 of 3 Page ID #:113



 1                                 CERTIFICATE OF SERVICE
 2
               I certify that on February 12, 2021, I filed the foregoing NOTICE OF
 3
 4    SETTLEMENT AS TO DEFENDANT EQUIFAX INC. with the Clerk of Court using the

 5    CM/ECF system, which will send e-mail notification of such filing to all attorneys of record,
 6
      and served the foregoing pleading via e-mail and U.S. Mail upon Pro Se Plaintiff as follows:
 7
 8             Donald L. Crawford, Sr.
               702 N. Teakwood Avenue
 9             Rialto, California 92376
10             Pro Se Plaintiff
11
                                                      /s/ Erica Hendricks
12                                                    Erica Hendricks
13                                                    Counsel for Defendant Equifax, Inc.
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                                                  3
                            DEFENDANT EQUIFAX INC.’S CONSENT TO REMOVAL
      68181439v.1
